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                      EXHIBIT C
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Customer Account Number: 431-00460      AE: PB2          Statement Period: September 01, 2009 to September 30, 2009                                             PAGE 1 of 4

MARKET INDICES
Index                           As of 12/31/08         As of 09/30/09      % Change
Dow Jones                            8,776.39              9,712.28        10.66%
NASDAQ                               1,577.03              2,122.42        34.58%
S&P 500                                903.25              1,057.08        17.03%
Russell 2000                           499.45                604.28        20.99%                                           WHITTIER LONG SHORT FUND LLC
                                                                                                                            C/O WHITTIER TRUST COMPANY
30 Year Treasury                       2.69%                 4.05%         50.56%
                                                                                                                            1600 HUNTINGTON   DRIVE
10 Year Treasury                       2.24%                 3.31%         47.77%                                           SOUTH PASADENA CA 91030-4709




ACCOUNT VALUE SUMMARY                                                                             DIVIDENDS, INTEREST, AND TAX ACTIVITY SUMMARY
Description                                 As of 06/30/09                This Period             Description                                  This Statement   Year to Date

Equities - Long Positions                            $0.00                   $0.00                Dividends                                           $0.00         $0.00
Equities - Short Positions                            0.00                    0.00                Money Market Dividends                               0.00          0.00
Fixed Income                                          0.00                    0.00                Substitute Payments                                  0.00          0.00
Options                                               0.00                    0.00                Corporate Bond Interest                              0.00          0.00
Mutual Funds                                          0.00                    0.00                Municipal Bond Interest                              0.00          0.00
Certificates of Deposit                               0.00                    0.00                U.S. Government Bond Interest                        0.00          0.00
Money Market Funds                                    0.00                    0.00                Government Agency Interest                           0.00          0.00
Other Securities                                      0.00                    0.00                Credit Balance Interest                              0.00          0.00
Non-Security Assets                                   0.00                    0.00                Return of Capital                                    0.00          0.00
 Subtotal                                            $0.00                   $0.00                Other Dividends                                      0.00          0.00
                                                                                                  Non-Security Assets                                  0.00          0.00
TOTAL                                                $0.00                   $0.00                TOTAL INCOME                                        $0.00         $0.00

                                                                                                  U.S. Tax Withheld                                   $0.00         $0.00
                                                                                                  NRA Tax Withheld                                     0.00          0.00
                                                                                                  Foreign Tax Withheld                                 0.00          0.00
                                                                                                  Bond Purchase Interest                               0.00          0.00
                                                                                                  Short Dividends                                      0.00          0.00
                                                                                                  Short Other Dividends                                0.00          0.00
                                                                                                  Short Interest Expense                               0.00          0.00
                                                                                                  Margin Interest Paid                                 0.00          0.00
                                                                                                  TOTAL EXPENSES                                      $0.00         $0.00


                                                 THIS SUMMARY IS FOR INFORMATIONAL PURPOSES ONLY. IT IS NOT INTENDED AS A TAX DOCUMENT.
                                                                  THIS STATEMENT SHOULD BE RETAINED FOR YOUR RECORDS.
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Customer Account Number: 431-00460          AE: PB2        Statement Period: September 01, 2009 to September 30, 2009                                                      PAGE 3 of 4


PORTFOLIO SUMMARY
Bond ratings are provided by Moody's and Standard & Poor's, respectively. For more information about bond ratings please contact your financial advisor. Estimated figures shown are
estimates and actual yield and income may differ.
CORPORATE BONDS
                                                                                                                                                        Estimated           Estimated
Account                                                                             Bond                           Current             Market               Annual
Type               Quantity       Description                                       Ratings                          Price              Value              Income                Yield
MARGIN             1,000,000      LEHMAN BROS HLDGS INC                             WR                             $0.0000              $0.00
                                  REV CONV NOTES ON MOT
                                  DUE 10/15/2008
                                  DATED DATE 04/15/08
                                  DUE 10/15/2008
                                  CUSIP - 5249085W6
MARGIN             2,000,000      LEHMAN BROTHERS HOLDINGS INC                                                      0.0000                0.00
                                  MOT K/I REV CONV NTS
                                  DUE 9/28/2008
                                  DATED DATE 03/28/08
                                  DUE 09/28/2008
                                  CUSIP - 524935AD5
MARGIN             1,000,000      LEHMAN BROTHERS HOLDINGS INC                                                      0.0000                0.00
                                  DF K/I REV CONV NTS
                                  DUE 9/28/2008
                                  DATED DATE 03/28/08
                                  DUE 09/28/2008
                                  CUSIP - 524935AE3
MARGIN             1,000,000      LEHMAN BROTHERS HOLDINGS INC                                                      0.0000                0.00
                                  REV CONV LKD TO OFFICE DEPOT
                                  INC
                                  DATED DATE 04/02/08
                                  DUE 10/03/2008
                                  CUSIP - 524935AF0
MARGIN             1,000,000      LEHMAN BROS HLDGS INC                                                             0.0000                0.00
                                  REV CONV LKD TO FORMFACTOR INC
                                  DATED DATE 04/08/08
                                  DUE 10/09/2008 11.000%
                                  CUSIP - 524935AH6
                                  MARKET VALUE OF CORPORATE BONDS                                                                        $0.00
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Customer Notice




                                                              *** END OF STATEMENT ***
